


  PER CURIAM.
 

  Petitioner is hereby granted a belated appeal of the January 29, 2010, judgment and sentence in Duval County Circuit Court case number 16-2008-CF-016681-BXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
 

  PETITION GRANTED.
 

  HAWKES, C.J., VAN NORTWICK and MARSTILLER, JJ., concur.
 
